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     Russell Davis (SBN 177959)
 1
     PACIFIC JUSTICE INSTITUTE
 2   29 Lakewood Ave.
     San Francisco, CA 94127
 3   Tel. (415) 310-6575
 4   rdavis@pji.org

 5   Kevin T. Snider (SBN 170988)
     PACIFIC JUSTICE INSTITUTE
 6
     P.O. Box 276600
 7   Sacramento, CA 95827
     Tel. (916) 857-6900
 8   Fax (916) 857-6902
     ksnider@pji.org
 9
     Attorneys for Plaintiffs
10
11                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
      SELINA KEENE, MELODY FOUNTILA, MARK )                    Case No.: 4:22-cv-01587-JSW
13
      MCCLURE,                                          )
14                                                      )      PLAINTIFFS’ POINTS AND
             Plaintiffs,                                )      AUTHORITIES IN OPPOSITION TO
15                                                      )      MOTION TO DISMISS
     v.                                                 )
16                                                      )
17   CITY AND COUNTY OF SAN FRANCISCO;                  )
     LONDON BREED, Mayor of San Francisco in her )             Date: July 8, 2022
18   official capacity; CAROL ISEN Human Resources )           Time: 9:00 AM
                                                               Courtroom: 5
     Director, City and County of San Francisco, in her )
19   official capacity; DOES 1-100,                     )      Date Action Filed: March 14, 2022
                                                        )      Trial Date: None set
20
           Defendants.                                  )
21                                                      )

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 1                                            INTRODUCTION
 2          City Defendant’s Motion to Dismiss two public official Defendants under Rule 12(b)(6)
 3   of the Federal Rules of Civil Procedure (“FRCP”) is without merit and should be denied as such.
 4   Plaintiffs in the case at bar have named three Defendants (together, the “Defendants”), as
 5   indicated in the captioning above and consistent with the same captioning in the Defendants’
 6   Motion to Dismiss (“Motion”). The first named Defendant is the City and County of San
 7   Francisco (“City” or “CCSF”). The second and third named Defendants are each natural persons,
 8   and each individual is sued only in her official capacity: Mayor London Breed (“Mayor”) is sued
 9   only in her official capacity as Mayor of San Francisco, and Carol Isen is sued only in her official
10   capacity as Human Resources Director of the City and County of San Francisco (“Director”).
11   Both the Mayor and Director are sued only in their official capacity; neither the Mayor nor the
12   Director is sued in her individual/personal capacity.
13          The Motion rests on two claims:
14          [A] The Individual Defendants are named in their official capacities only and the
15          claims against them should therefore be dismissed as redundant of those asserted
            against the City and County of San Francisco (“City”) and [B] because no
16          individual liability exists for discrimination claims under Title VII or the
            California Fair Employment and Housing Act (“FEHA”).
17
     Motion to Dismiss, p. 2, ¶¶ 7-11. As to the first claim, the Motion cites only one inapplicable
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     case. As to the second claim, Plaintiffs have not sued any Defendant in her individual capacity.
19
     To the extent the Motion cites case law with respect to individual liability and employment law,
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     the case law is wholly irrelevant to the case at bar because the Mayor and Director are each sued
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     in her official capacity only.
22
                                                ARGUMENT
23
     I. The Mayor and the Director are each a properly named Defendant in her official
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     capacity, and no case law suggests their inclusion is “duplicative.”
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            Plaintiffs have properly plead claims against the City and against both the Mayor and the
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     Director with respect to their official capacity. The Motion nonetheless asserts that claims
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     against the Director and Mayor should be dismissed as “duplicative” of Plaintiffs’ claims against
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 1   the City. Id. at 3, ¶ 16. There is no case law to support the Motion’s “duplicative” assertion. For
 2   this claim, the Motion necessarily relies entirely upon a singular quotation from Hofmann v. City
 3   and County of San Francisco, 870 F.Supp.2d 799 (N.D. Cal. 2012) (see Motion, p. 3, ¶¶ 18-19),
 4   which in turn was quoting a footnote from a police dog bite case, Chew v. Gates, 27 F.3d 1432,
 5   1446 n. 15 (9th Cir. 1994)) (see Motion, p. 3, ¶¶ 20-21).
 6          In Hofmann, the “Defendants have moved to dismiss Plaintiffs’ federal claims under §§
 7   1981, 1983 and 1985, pursuant to Federal Rule of Civil Procedure 12(b)(6).” Hofmann, 870 F.
 8   Supp. 2d at 800. Hofmann did not address the dismissal of a public official—let alone the mayor
 9   as the official representative of the City—with respect to either Title VII or FEHA. In Chew, the
10   defendants were subject to claims only under 42 U.S.C. § 1983. Chew, 870 F. Supp. 2d at 1435.1
11          As relevant to the case at bar, Hofmann did not dismiss either the Title VII claims or the
12   FEHA claims against any defendant named in his or her official capacity. Hofmann cannot
13   plausibly be read as standing for the proposition that a Title VII and/or FEHA claim against a
14   City public official, only in her official capacity, is “duplicative” of a claim against a City.
15   Hofmann states nothing of the kind.
16          Even in the context of §§ 1981, 1983, and 1985, Hofmann does not stand for the
17   proposition that a lawsuit against the Mayor in her official capacity is duplicative of a lawsuit
18   against the City. Ultimately, Hofmann determined liability by focusing on the City Charter,
19   which directs liability squarely to the City’s legal representative, the Mayor. Hofmann, 870 F.
20   Supp. 2d at 802. Hofmann turns upon the capacity of a policy department and its officials to be
21   named defendants in addition to the City and its officials. Hofmann, 870 F. Supp. 2d at 802.
22   More precisely, Hofmann focused on the relationship between the SFPD and the City in order to
23   determine whether any additional liability could be assigned to the SFPD as an entity
24   independent of the City: “Defendants seek dismissal of the claims against SFPD because it is not
25   an independent legal entity under the City Charter.” Hofmann, 870 F. Supp. 2d at 802. The court
26
27   1Chew did not address defendants Title VII or FEHA, let alone defendants sued in their official
     capacity with respect to such employment laws.
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 1   found that, under the City Charter, the SFPD was not an independent entity. Id. No separate
 2   liability could be assigned to the SFPD, and thus no separate liability could be extended from the
 3   SFPD against two former SFPD chiefs acting in their official capacity. Id. at 802-803. “The
 4   claims against SFPD are deemed to be claims against the City.” Id. at 803. For this reason, the
 5   claims against “the former Chiefs in their official capacities” also failed. Id. Without any
 6   independent liability of the SFPD, liability rested only with the City and City officials; no
 7   separate liability could be assigned to the SFPD and SFPD officials because the SFPD was not
 8   an entity independent of the City.2
 9          For this reason, Hofmann points to the City Charter to properly assign and confine
10   liability to the City and City officials, not to the SFPD and two former SFPD chiefs sued in their
11   official and individual capacity: “Suits against persons acting in their official capacity generally
12   represent only another way of pleading an action against the entity of which the officer is an
13   agent.” Hofmann 870 F. Supp. 2d at 803. Hofmann found that the SFPD and its agents could not
14   be sued independently of the City, already properly named as the defendant.
15          The City Charter, of course, names the Mayor, not the SFPD and SFPD officials, as the
16   legal representative of the City. Section 3.100 of the San Francisco City Charter unambiguously
17   states that the Mayor is the official representative of the City: “The Mayor shall be the chief
18   executive officer and the official representative of the City and County, and shall serve full time
19   in that capacity.” Defendant Mayor London Breed is thus sued as the individual who is acting
20   Mayor of San Francisco, in her official capacity as the chief executive officer and official
21   representative of CCSF. The City Charter commands that “[t]he Mayor shall enforce all laws
22   relating to the City and County, and accept service of process on its behalf.” San Francisco City
23   Charter, § 3.100. Just as Hofmann looked to the City Charter to determine that the SFPD and its
24   officials could not be assigned liability independent of the City, so too the City Charter directs
25
26
     2 Although Hofmann granted defendants’ motion with respect to the dismissal of the SPFD and its
27   officials, even then it granted dismissal leave to amend rather than dismissal with prejudice as
     requested by the Motion before this Court.
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 1   that the Mayor is the legal representative of the City. In a lawsuit against the City, the Mayor and
 2   City officials—directly appointed “department heads” pursuant to § 3.100, part 19 of the City
 3   Charter—have been properly named as Defendants in their official capacity in this case.
 4   II. The Director and the Mayor are named as Defendants in their “official capacity” only,
 5   and the Motion’s focus on “individual liability” is wholly irrelevant to this case.
 6          No Defendant in this case is sued in their personal capacity, yet the Motion spends the
 7   majority of its discussion focusing exclusively on personal-capacity lawsuits. The Motion has
 8   perhaps fundamentally confused these two basic concepts: An official-capacity lawsuit is a
 9   lawsuit against an individual, public official in their “official capacity”; whereas a personal-
10   capacity lawsuit is a lawsuit against an individual, public official in her personal or individual
11   capacity. Kentucky v. Graham, 473 U.S. 159, 165-166 (1985).
12          As a preliminary matter, then, the Motion either misrepresents or misunderstands the
13   distinction between suing a defendant in an “official capacity” and suing a defendant in a
14   “personal/individual capacity.” The U.S. Supreme Court has directly addressed the very
15   confusion demonstrated by the Motion:
16          Proper application of this principle in damages actions against public officials
17          requires careful adherence to the distinction between personal- and official-
            capacity suits. Because this distinction apparently continues to confuse
18          lawyers and confound lower courts, we attempt to define it more clearly
            through concrete examples of the practical and doctrinal differences between
19          personal- and official-capacity actions.
20
            Personal-capacity suits seek to impose personal liability upon a government
21          official for actions he takes under color of state law. See, e. g., Scheuer v. Rhodes,
            416 U.S. 232, 237-238 (1974). Official-capacity suits, in contrast, "generally
22          represent only another way of pleading an action against an entity of which
            an officer is an agent.” Monell v. New York City Dept. of Social Services, 436
23          U.S. 658, 690, n. 55 (1978). As long as the government entity receives notice and
24          an opportunity to respond, an official-capacity suit is, in all respects other than
            name, to be treated as a suit against the entity. Brandon, 469 U.S., at 471-472. It
25          is not a suit against the official personally, for the real party in interest is the
            entity.
26
     Kentucky v. Graham, 473 U.S. 159, 165-166 (1985) (emphasis added).
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 1          The specific guidance from the Supreme Court notwithstanding, the Motion proceeds to
 2   focus inexplicably on personal liability case law under Title VII and FEHA. The Motion
 3   concedes, twice over, that the “individual Defendants are named in their official capacities only”
 4   (Motion, p. 2, ¶¶ 7-8) and again that “[a]longside the City, Plaintiffs have named both Mayor
 5   Breed and Director Isen as individual defendants, but acknowledges that each is being sued in
 6   her ‘official capacity’ only” (Motion, p. 3, ¶¶ 3-4). Undeterred, the Motion argues extensively an
 7   issue that is not before this Court: whether a defendant can be sued in her individual/personal
 8   capacity under Title VII and/or FEHA. Of course, there are no such defendants in the case at bar.
 9          Nonetheless, the Motion proceeds to reference and discuss only cases in which an
10   individual defendant is sued, not in their official capacity but in only their individual/personal
11   capacity:
12        • Miller v. Maxwell’s Intern. Inc., 991 F.2d 583 (9th Cir. 1993) (dismissing claims for
13          “sex and age discrimination claims against six defendants in their individual capacities”
14          because they “have no personal liability under Title VII and the ADEA,” id. at 584, 587)
15          (emphasis added) (Motion, p. 4, ¶¶ 2-3);
16        • Grimes v. San Mateo County Transit Dist., 2013 WL 1739470 (N.D. Cal. Apr. 22, 2013)
17          (granting only in part defense motion to dismiss claims against personal liability claims
18          against “individual” defendants, id. at *27-28) (emphasis added) (Motion, p. 4, ¶¶ 4-5);
19        • Scott v. Solano County Health & Soc. Serv. Dept., 459 F. Supp. 2d 959 (E.D. Cal. 2006)
20          (citing to Miller simply to find that there is “no personal liability” under Title VII, id. at
21          965) (emphasis added) (Motion, p. 4, ¶¶ 5-6);
22        • Reno v. Baird, 18 Cal. 4th 640, 663 (1998) (citing Janken to address the question of
23          “whether FEHA imposes personal liability on an individual employee” not sued in her
24          official capacity, id. at 645) (emphasis added) (Motion, p. 4, ¶¶ 15-16); and
25        • Janken v. GM Hughes Electronics, 46 Cal. App. 4th 55, 76-77 (1996) (declining to
26          allow “personal liability” claims against supervisory employees where a “corporate
27          policy violated the FEHA,” id. at 78) (emphasis added) (Motion, p. 4, ¶ 20).
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 1   None of the foregoing address a public official sued in their official capacity, let alone sued only
 2   in their official capacity. Each of the preceding five cases advances only the proposition that a
 3   non-employer individual may not be subject to a claim of “personal liability” under Title VII and
 4   FEHA cases. Neither the Mayor nor the Director is sued in her personal capacity, and
 5   consequently none of the foregoing citations are relevant to this case.
 6   III. Plaintiffs’ Complaint is well pled.
 7          Plaintiffs’ Complaint alleges as follows:
 8          Defendant LONDON BREED is and was, at all times relevant to this action,
 9          Mayor of the City of San Francisco. She resides in San Francisco County. She is
            sued in her official capacity. The Mayor of the City and County of San Francisco
10          is the head of the executive branch of the San Francisco City and County
            government. This officeholder has the duty to enforce city laws and the power to
11          either approve or veto bills passed by the San Francisco Board of Supervisors.
            Because of San Francisco’s status as a consolidated city-county, the Mayor also
12
            serves as the head of government of the County and can issue executive
13          orders and/or mandates, and did in fact issue a vaccine mandate for all
            CCSF employees.
14
     Complaint at ¶ 13 (emphasis added).
15
            In other words, Plaintiffs have pled that Defendant Mayor London Breed is “the individual
16
     who committed the constitutional tort [and] was an official with final policy-making authority and
17
     that the challenged action itself thus constituted an act of official governmental policy.” Hofmann,
18
     supra, at 804.
19
            The Complaint also alleges that Defendant Carol Isen is the head of the Department of
20
     Human Resources and as follows: “The Human Resources Department executes the Mayor’s
21
     vaccine mandate by terminating employees that are not vaccinated.” Complaint at ¶ 14
22
     (emphasis added).
23
            “Plaintiff may [allege] that an official with final policy-making authority ratified a
24
     subordinate’s unconstitutional decision or action and the basis for it." Hofmann, supra, at 804.
25
     Thus, Plaintiffs have alleged that Defendant Mayor Breed issued a mandate and that Defendant
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     Carol Isen has enforced it. These are sufficient facts to establish municipal liability and also raise
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     jurisdictional issues, as argued below.
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     IV. By suing Defendants Mayor Breed and Carol Isen in their official capacity, Plaintiffs are
 1   really suing their offices. The issue is whether or not those offices have the jurisdiction to
 2   issue health mandates in the first instance.
            A. There is an issue of jurisdiction.
 3
            On May 12, 2022, opposing counsel first raised the issue of Monell liability in regards to
 4
     Defendants Mayor Breed and Carol Isen. Plaintiffs’ counsel responded on May 13, stating that
 5
     Plaintiffs were suing the office of the Mayor and that there were jurisdictional issues at play. On
 6
     May 14, opposing counsel wrote back asking what issues were at play. On May 20, Plaintiffs’
 7
     counsel wrote back asking who (agency and person) issued the June 23, 2021 vaccine mandate.
 8
     On May 31, Defendants responded and provided a document that indicates that it was the DHR
 9
     that issued the mandate. It also indicates that DHR was implementing a policy of the Health
10
     Department. That document is the same as the document attached to the Russell Davis Decl. in
11
     Opposition as Exhibit 2. See also, Davis Decl. in Opposition, Exhibits 1, 3-4. On the same day,
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     Plaintiffs’ counsel wrote back stating that Plaintiffs needed the underlying policy and/or document
13
     referenced in Exhibit 2. To date that has not been provided. In addition, Defendants have artfully
14
     pled that Defendant Isen has not implemented Defendant Mayor Breed’s mandate. See Answer,
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     page 2, lines 7-9. That statement implies that Defendant Isen is implementing someone else's
16
     mandate. It should be obvious that Plaintiffs are entitled to know who that is.
17
            It is axiomatic that Defendant CCSF can only act through its departments and agencies and
18
     the executives that are in charge of those departments and agencies. The jurisdictional issue raised
19
     by the Complaint is whether the offices of the Mayor and/or the Department of Human Resources
20
     (DHR) have the power (jurisdiction) to issue a vaccine mandate in the first place. Plaintiffs state
21
     that they have not read the entire municipal code and do not know whether any department or
22
     agency within CCSF has the power to issue the vaccine mandate at issue. If such power exists, it
23
     more than likely resides in the office of the Health Department. However, Plaintiffs have not been
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     able to find any documentation that CCSF’s Health Department or the Health Officer issued the
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     mandate at issue. See Davis Decl. in Opposition, ¶ 6. More importantly, Defendants have not
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     provided any such document. On information and belief, Plaintiffs allege that the office of the
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 1   Mayor and DHR do not have such power; therefore, the Mayor and head of DHR should remain in
 2   the Complaint.
 3           B. The Complaint is sufficient to raise the jurisdictional issue.
 4           Plaintiffs believe that the Complaint, ¶¶ 13-14, is sufficient to raise the jurisdictional issue
 5   referenced above. However, if this Court disagrees, it should grant Plaintiffs leave to amend, in
 6   order to more fully “flesh” out the jurisdictional issue. Plaintiffs anticipate that they will be filing a
 7   motion for preliminary injunction based on said jurisdictional issue. It is likely that a generic
 8   injunction against CCSF will not be granted if some agency within CCSF has the power to issue a
 9   vaccine mandate and did so. Defendants have not provided the requested documentation regarding
10   who and what agency issued the actual mandate. If they had answered that question, it is possible
11   that the instant Motion would not have been necessary. At this point in litigation it is too early to
12   tell whether the Mayor’s office or the office of the DHR issued the mandate and whether those
13   offices have the jurisdiction to do so. Therefore, the Motion to Dismiss should be denied.
14   V. Defendants’ argument cuts both ways.
15           Defendants state that they have no personal liability and therefore should be dismissed
16   from the Complaint. Plaintiffs agree that Defendants have no personal liability. Therefore, there is
17   no prejudice to the Defendants by remaining in the case, pending resolution of the jurisdictional
18   argument raised above.
19                                               CONCLUSION
20           Unresolved jurisdictional arguments remain, and there is no prejudice if Defendants
21   Mayor Breed and Carol Isen remain in the case. Therefore, Defendants’ Motion to Dismiss
22   should be denied. If the Court deems it necessary, Plaintiffs can amend their Complaint to more
23   fully develop the jurisdictional argument.
24           Respectfully submitted this 2nd day of June 2022 in San Francisco, California.
25                                                            /s/ Russell Davis
26                                                            Russell Davis, Esq.
                                                              PACIFIC JUSTICE INSTITUTE
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                                                              Attorney for Plaintiffs
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